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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA

               v.                                             Case No. 21-mj-18

KELLY HARPER,

                             Defendant.


                            COMPLAINT FOR VIOLATION OF
                    TITLE 18, UNITED STATES CODE, SECTION 1958(a)

                                                                                      -:w. :·. ,   ,-
                                                                                          .,
BEFORE United States Magistrate Judge                    United States District Court-·'
Stephen L. Crocker                                       120 North Henry Street
                                                         Madison, Wisconsin 53703

       The undersigned complainant being duly sworn states:


       From on or about October 19, 2020 through on or about December 10, 2020, in the

Western District of Wisconsin and elsewhere, the defendant,

                                     KELLY HARPER,

used a facility of interstate commerce, specifically the Internet, with intent that the

murder of KNOWN VICTIM be committed in violation of the laws of Wisconsin as

consideration for the receipt of, and as consideration for a promise and agreement to

pay, things of pecuniary value, specifically bitcoin.

              (In violation of Title 18, United States Code, Section 1958(a)).
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This complaint is based on the attached affidavit of Bryan B-:c;a.---,




                                         Special Agent
                                         Federal Bureau of Investigation


Sworn to me this     7
                         flt
                          day of February 2021.            .   II
                                             :5£li._
                                        HONORABLE STEPHEN L. CROCKER
                                        United States Magistrate Judge
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 COUNTY OF DANE                       )
                                      ) ss
 STATE OF WISCONSIN                   )                      202 I FEB -8 '1/'i JO: 11

                                             AFFIDAVIT                         ( , ' ''   '   ,.



        I, Bryan Baker, having been first duly sworn on oath, state that:

        1.       I am a Special Agent with the Federal Bureau of Investigation (FBI) and

have been so employed since January of 2011. I am currently assigned to the FBI

Milwaukee Division, Madison Resident Agency. My duties involve working criminal

violations, including murder-for-hire investigations. I received training on the proper

investigative techniques for this violation including surveillance techniques;

interviewing methods of subjects, witnesses, and victims; and the preparation and

execution of arrest, search, and seizure warrants.

       2.        The facts in this affidavit come from my training and experience, as well

as my personal participation in this investigation via reports prepared by, and

information obtained from, other federal, state, and local law enforcement agents and

officers, all of whom I believe to be truthful and reliable. This affidavit does not contain

every fact I know about this investigation, and is merely intended to show probable

cause that KELLY HARPER committed a violation of Title 18, United States Code,

Section 1958(a)(murder-for-hire).

                                          PROBABLE CAUSE

       3.       On January 12, 2021, an officer from the Sun Prairie Police Department

(SPPD) responded to a suspicious person call at a residence in Sun Prairie, Wisconsin.

When the officer arrived, he observed an individual, later identified as a local journalist
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 GOURNALIST #1), sitting at the kitchen table with KNOWN VICTIM (KV). Both KV

 and JOURNALIST #1 were participating in a videoconference call with two males

 identified as JOURNALIST #2 and JOURNALIST #3. The officer spoke to

 JOURNALIST #2 and JOURNALIST #3 who advised they were working on an

 investigative report. Specifically, JOURNALIST #2 told the officer that, while

 investigating a murder-for-hire site on the dark web, they uncovered information

showing someone wanted to kill KV. KV then gave the officer a document he received

from JOURNALIST #2. The document summarized the investigation and included chat

communications that took place from December 3 through December 10, 2020 between

an unknown subject (UNSUB) and an individual purporting to be a murder-for-hire site

administrator on the dark web. All of the chats related to UNSUB soliciting the

administrator to kill KV. For example, in a chat dated December 3, 2020, UNSUB sent

the administrator KV' s name and address and stated, "The target needs to be killed, he

is a white 5 foot 5 male, dark brown short hair, blue eyes, weighs 165 pounds ... "

UNSUB included details about KV's vehicle, where KV worked, and KV's cell phone

number. UNSUB also included pictures of KV and KV' s vehicle. The murder-for-hire

site administrator responded to UNSUB' s message and requested proof of payment in

the form of bitcoin. UNSUB responded by sharing a screenshot of a bitcoin wallet with a

value of approximately $5,633.87.

       4.      On January 13, 2021, KV' s girlfriend filed a complaint with the FBI' s

National Threat Operations Center, and provided the FBI with information KV received

from the journalists.
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       5.        On January 14, 2021, I interviewed JOURNALIST #2 and JOURNALIST

 #3, as well as another journalist helping with the investigation. All three journalists

verified the accuracy of the information provided by KV's girlfriend. The journalists

explained that, while investigating a murder-for-hire dark web site located outside of

Wisconsin, they identified UNSUB as a person who wanted to kill KV. Through an

analysis of the chats between UNSUB and the murder-for-hire site administrator, the

journalists identified an October 19, 2020 bitcoin transfer from UNSUB to the

administrator of a second murder-for-hire dark web site. The journalists included their

bitcoin analysis in the document they provided to KV.

       6.       An analyst from the FBI' s Money Laundering, Forfeiture, and Bank Fraud

Unit reviewed the bitcoin transfer provided by the journalists and identified an IP

address, email account, and telephone number associated with UNSUB's bitcoin wallet.

Through the use of grand jury subpoenas, I determined that the IP address, email

account, and telephone number were associated with KELLY HARPER.

       7.      On February 5, 2021, agents from the FBl's Milwaukee Field Office

executed a federal search warrant at HARPER' s residence in Columbus, Columbia

County, Wisconsin. During the search, agents found screenshots from a murder-for-

hire dark web site, as well as one of the pictures UNSUB sent to the murder-for-hire site

administrator.

      8.       As FBI agents executed the search warrant at HARPER' s residence, I

interviewed HARPER at the SPPD. During this interview, HARPER admitted to paying
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bitcoin to the administrator of a murder-for-hire dark web site in order to have KV

killed.

                                         CONCLUSION

          9.       Based on the foregoing facts, I believe there is probable cause that KELLY

HARPER committed a violation of Title 18, United States Code, Section 1958(a)(murder-

for-hire).




                                                    Bryan Baker
                                                    Special Agent, Federal Bureau of
                                                    Investigation



Sworn


Honorable Stephen L. Crocker
United States Magistrate Judge
